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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS


    HOLGER FIALLO,                                          Civil Action No.

                         Plaintiff,                         COMPLAINT FOR DECLARATORY
                                                            AND INJUNCTIVE RELIEF
         v.


    L’ORÉAL USA, INC. DBA BAXTER OF
    CALIFORNIA,


                         Defendant.


              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

        HOLGER FIALLO (“Plaintiff”), by and through undersigned counsel, seeks a permanent

injunction requiring a change in L’Oréal USA, Inc. dba Baxter of California’s (“L’Oreal," and

“Defendant”) corporate policies to cause its Website to become, and remain, accessible to

individuals with visual disabilities. In support thereof, Plaintiff respectfully asserts as follows:

                                         INTRODUCTION

        1.      In a September 25, 2018 letter to U.S. House of Representative Ted Budd, U.S.

Department of Justice Assistant Attorney General Stephen E. Boyd confirmed that public

accommodations must make the Websites they own, operate, or control equally accessible to

individuals with disabilities. Assistant Attorney General Boyd’s letter provides:

        The Department [of Justice] first articulated its interpretation that the ADA applies
        to public accommodations’ Websites over 20 years ago. This interpretation is
        consistent with the ADA’s title III requirement that the goods, services, privileges,
        or activities provided by places of public accommodation be equally accessible to
        people with disabilities.1


1
       See Letter from Assistant Attorney General Stephen E. Boyd, U.S. Department of Justice,
to Congressman Ted Budd, U.S. House of Representatives (September 25, 2018) (available at
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        2.      Plaintiff Fiallo is legally blind. He lost his sight at 18 years old to glaucoma. He

uses a screen reader to navigate the internet, as well as Windows 10 with JAWS, the Google

Chrome browser, and iPhone 11 pro max with voiceover technology.

        3.      Screen reader “software translates the visual internet into an auditory equivalent.

At a rapid pace, the software reads the content of a webpage to the user.” Andrews v. Blick Art

Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6 (E.D.N.Y. December 21, 2017) (J.

Weinstein).

        The screen reading software uses auditory cues to allow visually impaired users to
        use Websites effectively. For example, when using the visual internet, a seeing user
        learns that a link may be "clicked," which will bring his to another webpage,
        through visual cues, such as a change in the color of the text (Website software
        turns text from black to blue when the user clicks on the link). When the sighted
        user's cursor hovers over the link, it changes from an arrow symbol to a hand.

        The screen reading software uses auditory—rather than visual—cues to relay this
        same information. When a sight-impaired individual reaches a link that may be
        "clicked on," the software reads the link to the user, and after reading the text of the
        link says the word "clickable." Through a series of auditory cues read aloud by the
        screen reader, the visually impaired user can navigate a Website by listening and
        responding with his keyboard.

Id. at *6-7.2

        4.      Defendant is a leader in the design, development, manufacture, and distribution of,

hair products, skincare, home goods, and similar products, under its recognized brand L’Oreal.




https://images.cutimes.com/contrib/content/uploads/documents/413/152136/adaletter.pdf) (last
accessed August 20, 2020).
2
         See American Foundation for the Blind, Screen Readers, available at
https://www.afb.org/node/16207/screen-readers (last accessed August 20, 2020) (discussing
screen readers and how they work).
                                                   2
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       5.      Consumers may purchase Defendant's products and access other brand-related

content and services at https://www.baxterofcalifornia.com/ (“Website”), the Website Defendant

owns, operates, and controls.3

       6.      In addition to researching and purchasing Defendant’s products and services from

the comfort and convenience of their homes, consumers may also use Defendant’s Website to

contact customer service by phone and email, sign up to receive product updates, product news,

and special promotions, review important legal notices like Defendant’s Privacy Policy and Terms

and Conditions, track online orders, and more.4

       7.      Defendant is responsible for the policies, practices, and procedures concerning the

Website’s development and maintenance.

       8.      Unfortunately, Defendant denies approximately 8.1 million5 Americans who have

difficulty seeing access to its Website’s goods, content, and services because the Website is largely

incompatible with the screen reader programs these Americans use to navigate an increasingly e-

commerce world.

       9.      This discrimination is particularly acute during the current COVID-19 global

pandemic. According to the Centers for Disease Control and Prevention (“CDC”), Americans

living with disabilities are at higher risk for severe illness from COVID-19 and, therefore, are




3
        L’OREAL Privacy Policy, available at https://www.baxterofcalifornia.com/customer-
service-security-policy.html (last accessed August 20, 2020).
4
        See, e.g., L’OREAL Home Page, available at https://www.baxterofcalifornia.com/ (last
accessed August 20, 2020).
5
        Press Release, United States Census Bureau, Nearly 1 in 5 People Have a Disability in
the U.S., Census Bureau Reports Report Released to Coincide with 22nd Anniversary of the ADA
(July 25, 2012), available at
https://www.census.gov/newsroom/releases/archives/miscellaneous/cb12-134.html (last accessed
August 20, 2020) (“About 8.1 million people had difficulty seeing, including 2.0 million who
were blind or unable to see.”).
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recommended to shelter in place throughout the pandemic.6 This underscores the importance of

access to online retailers, such as Defendant, for this especially vulnerable population.

       10.     The COVID-19 pandemic is particularly dangerous for disabled individuals.7 The

overwhelming burden on hospitals is leading to a worry that the emergency services will ration

treatment. Although the Department of Health has ensured that no priority treatment will occur,

disabled individuals fear that their diminished capacity to communicate will affect their treatment.8

With public health experts expecting social distancing to extend through 2022, and the uncertainty

surrounding businesses transitioning back to normal operations, the importance of accessible

online services has been heightened. During these unprecedented times, disabled individuals risk

losing their jobs, experiencing difficulty acquiring goods and services like health care, and not

having the information they need to stay safe.9




6
  See Centers for Disease Control and Prevention Website, Coronavirus Disease 2019 (2019),
available at https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-
higher-risk.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-
ncov%2Fspecific-groups%2Fhigh-risk-complications.html (last accessed August 20, 2020)
(“Based on currently available information and clinical expertise, older adults and people of any
age who have serious underlying medical conditions might be at higher risk for severe illness
from COVID-19.”).
7
   See The New York Times, ‘It’s Hit Our Front Door’: Homes for the Disabled See a Surge of
Covid-19 (2020), available at https://www.nytimes.com/2020/04/08/nyregion/coronavirus-
disabilities-group-homes.html?smid=fb-nytimes&smtyp=cur (last accessed August 20, 2020)
(“As of Monday, 1,100 of the 140,000 developmentally disabled people monitored by the state
had tested positive for the virus, state officials said. One hundred five had died — a rate far
higher than in the general population”).
8
  See The Atlantic, Americans With Disabilities Are Terrified (2020), available at
https://www.theatlantic.com/politics/archive/2020/04/people-disabilities-worry-they-wont-get-
treatment/609355/ (last accessed August 20, 2020) (explaining that disabled individuals are
inherently more susceptible to the virus, leading to complications in hospital in which the
individuals are unable to communicate effectively with doctors while intubated).
9
  See Slate, The Inaccessible Internet 2020, available at
https://slate.com/technology/2020/05/disabled-digital-accessibility-pandemic.html (last accessed
August 20, 2020).
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       11.      Plaintiff brings this civil rights action against Defendant to enforce Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12101 et seq. (“Title III”), which requires, among

other things, that a public accommodation (1) not deny persons with disabilities the benefits of its

services, facilities, privileges, and advantages; (2) provide such persons with benefits that are equal

to those provided to nondisabled persons; (3) provide auxiliary aids and services—including

electronic services for use with a computer screen-reading program—where necessary to ensure

effective communication with individuals with a visual disability and to ensure that such persons

are not excluded, denied services, segregated or otherwise treated differently than sighted

individuals; and (4) utilize administrative methods, practices, and policies that provide persons

with disabilities equal access to online content.

       12.      By failing to make its Website available in a manner compatible with computer

screen reader programs, Defendant, a public accommodation subject to Title III, deprives blind

and visually-impaired individuals the benefits of its online goods, content, and services—all

benefits it affords nondisabled individuals—thereby increasing the sense of isolation and stigma

among these Americans that Congress intended to redress when adopting Title III.

       13.      Because Defendant’s Website is not and has never been fully accessible, upon

information and belief, Defendant does not have and has never had adequate corporate policies

that are reasonably calculated to cause its Website to become accessible Plaintiff invokes 42 U.S.C.

§ 12188(a)(2) and seek a permanent injunction requiring Defendant to:

             a) Retain a qualified consultant acceptable to Plaintiff (“Web Accessibility
                Consultant”) who shall assist in improving the accessibility of its Website,
                including all third-party content and plug-ins, so the goods and services on the
                Website may be equally accessed and enjoyed by individuals with vision-related
                disabilities;

             b) Work with the Web Accessibility Consultant to ensure all employees involved in
                Website and content development be given web accessibility training on a biennial


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       basis, including onsite training to create accessible content at the design and
       development stages;

    c) Work with the Web Accessibility Consultant to perform an automated accessibility
       audit periodically to evaluate whether Defendant’s Website may be equally
       accessed and enjoyed by individuals with vision-related disabilities on an ongoing
       basis;

    d) Work with the Web Accessibility Consultant to perform end-user
       accessibility/usability testing on at least a quarterly basis with said testing to be
       completed by humans who are blind or have low vision, or who have training and
       experience in the manner in which persons who are blind use a screen reader to
       navigate, browse, and conduct business on Websites, in addition to the testing, if
       applicable, that is performed using semi-automated tools;

    e) Incorporate all of the Web Accessibility Consultant’s recommendations within
       sixty (60) days of receiving the recommendations;

    f) Work with the Web Accessibility Consultant to create a Web Accessibility Policy
       that the Defendant will post on its Website, along with an email address, instant
       messenger, and toll-free phone number to report accessibility-related problems;

    g) Directly link from the footer on each page of its Website, a statement that indicates
       that Defendant is making efforts to maintain and increase the accessibility of its
       Website to ensure that persons with disabilities have full and equal enjoyment of
       the goods, services, facilities, privileges, advantages, and accommodations of the
       Defendant through the Website;

    h) Accompany the public policy statement with an accessible means of submitting
       accessibility questions and problems, including an accessible form to provide
       feedback or an email address to contact representatives knowledgeable about the
       Web Accessibility Policy;

    i) Provide a notice, prominently, and directly linked from the footer on each page of
       its Website, soliciting feedback from visitors to the Website on how the
       accessibility of the Website can be improved. The link shall provide a method to
       provide feedback, including an accessible form to submit feedback or an email
       address to contact representatives knowledgeable about the Web Accessibility
       Policy;

    j) Provide a copy of the Web Accessibility Policy to all web content personnel,
       contractors responsible for web content, and Client Service Operations call center
       agents (“CSO Personnel”) for the Website;

    k) Train no fewer than three of its CSO Personnel to automatically escalate calls from
       users with disabilities who encounter difficulties using the Website. The Defendant
       shall have trained no fewer than 3 of its CSO personnel to timely assist such users
       with disabilities within CSO published hours of operation. The Defendant shall

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                establish procedures for promptly directing requests for assistance to such
                personnel including notifying the public that customer assistance is available to
                users with disabilities and describing the process to obtain that assistance;

             l) Modify existing bug fix policies, practices, and procedures to include the
                elimination of bugs that cause the Website to be inaccessible to users of screen
                reader technology;

             m) Plaintiff, his counsel, and their experts monitor the Website for up to two years after
                the Mutually Agreed Upon Consultant validates the Website is free of accessibility
                errors/violations to ensure Defendant has adopted and implemented adequate
                accessibility policies. To this end, Plaintiff, through his counsel and their experts,
                shall be entitled to consult with the Web Accessibility Consultant at their discretion,
                and to review any written material, including but not limited to any
                recommendations the Website Accessibility Consultant provides Defendant.

       14.      Web-based technologies have features and content that are modified on a daily, and

in some instances, an hourly, basis, and a one-time "fix" to an inaccessible website will not cause

the website to remain accessible without a corresponding change in corporate policies related to

those web-based technologies. To evaluate whether an inaccessible website has been rendered

accessible and whether corporate policies pertaining to web-based technologies have been changed

in a meaningful manner that will cause the website to remain accessible, the website must be

reviewed periodically using both automated accessibility screening tools and end-user testing by

disabled individuals.

                                  JURISDICTION AND VENUE

       15.      The claims arise under Title III, invoking this Court's jurisdiction under 28 U.S.C.

§ 1331 and 42 U.S.C. § 12188.

       16.      Defendant attempts to, and indeed does, participate in the state’s economic life by

clearly performing business over the internet. Through its Website, the Defendant entered into

contracts for the sale of its products and services with residents of Illinois. These online sales

contracts involve, and indeed require, Defendant’s knowing and repeated transmission of computer



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files over the internet. See Hetz v. Aurora Med. Ctr. of Manitowoc Cnty., No. 06-C-636, 2007 U.S.

Dist. LEXIS 44115, at *6 (E.D. Wis. June 18, 2007).

        17.     As described in additional detail below, Plaintiff was injured when he attempted to

access Defendant's Website from his home in this district, but encountered barriers that denied him

full and equal access to Defendant’s online goods, content, and services.

        18.     Venue in this district is proper under 28 U.S.C. § 1391(b)(2) because this is the

judicial district in which a substantial part of the acts and omissions giving rise to Plaintiff’s claim

occurred.

                                              PARTIES

        19.     Plaintiff Fiallo is, and, at all times relevant hereto has been, a resident of Chicago,

Illinois. Plaintiff is, and, at all times relevant hereto has been, legally blind and is therefore a

member of a protected class under the ADA, 42 U.S.C. § 12102(2) and the regulations

implementing the ADA set forth at 28 CFR §§ 36.101et seq.

        20.     Defendant L’Oreal is a Delaware corporation with its principal place of business at

10 Hudson Yards, 30th Floor, New York, New York, 10001.

                           FACTS APPLICABLE TO ALL CLAIMS

        21.     While the increasing pervasiveness of digital information presents an

unprecedented opportunity to increase access to goods, content, and services for people with

perceptual or motor disabilities, website developers and web content developers often implement

digital technologies without regard to whether individuals with disabilities can access those

technologies. This is notwithstanding the fact that accessible technology is both readily available

and cost-effective.




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                            DEFENDANT’S ONLINE CONTENT

       22.     Defendant’s Website allows consumers to research and participate in Defendant’s

services and products from the comfort and convenience of their own homes.

       23.     The Website also enables consumers to contact customer service by phone and

instant messenger, find local retailers, sign up to receive product updates, product news, and

special promotions, review important legal notices like Defendant’s Privacy Policy and Terms and

Conditions, track online orders, and more.

       24.     Consumers may use the Website to connect with Defendant on social media, using

sites like Facebook, Twitter, Instagram, and YouTube.

                                   HARM TO PLAINTIFF
       25.     Plaintiff attempted to access the Website from his home in Chicago, Illinois.

Unfortunately, because Defendant failed to build the Website in a manner that is compatible with

screen reader programs, Plaintiff is unable to understand, and thus is denied the benefit of, much

of the content and services he wishes to access on the Website. For example:

               a.     Defendant constructed its Website such that a $20 off promotional pop-up

is not accessible to screen reader users, as it does not announce the code to access it. The first

image in the homepage slider is announced. Users can hear the amount off and the amount they

must spend to receive the discount. What screen reader users do not hear is that they must use the

coupon code "20OFF" to access this discount.




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               b.      Screen reader users are not informed of the cart confirmation message on

Defendant’s Website. After a user presses the Add to Cart button, the Website shows a

confirmation pop-up to indicate that the item was successfully added to the cart. It also shows the

total number of items in the cart, the total price, and a link to go to the cart. This confirmation

message is not announced to screen reader users. Instead, screen reader users hear the unlabeled

quantity button and will continue to hear other elements on the page as if the confirmation pop-up

is not present. After the Add to Cart button, screen reader users do not hear a confirmation message

because the pop-up is not announced, and focus does not move to it as required, so it is unclear if

the button worked or not.




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               c.      The quantity button on Defendant’s Website is not accessible to screen

reader users. The quantity button is visually distinguished onscreen, so a sighted user knows that

this field represents the quantity. However, a label is not announced to screen reader users, nor is

the correct role announced. Screen readers utilize the role type to determine how to interact with

the element. The quantity field is a dropdown which restricts users from directly entering a value.

A user must open the dropdown, navigate, and select the new value. In this case, a user does not

hear that a dropdown is present. They cannot open the dropdown and select a new value, nor can

they directly enter a value. The sighted user was able to open the dropdown box and see the values,

but a screen reader did not announce this; it was only shown onscreen.




       26.     These barriers, and others, deny Plaintiff full and equal access to all of the services

the Website offers, and now deter him from attempting to use the Website. Still, Plaintiff would

like to, and intends to, try to access the Website in the future to research the products and services

the Website offers or test the Website for compliance with the ADA.




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        27.    If Defendant removed the access barriers described above, its Website would

become accessible, and Plaintiff could independently research and purchase Defendant’s products

and access its other online content and services.

        28.    Though Defendant may have centralized policies regarding the maintenance and

operation of the Website, Defendant has never had a plan or policy that is reasonably calculated to

make the Website fully accessible to, and independently usable by, individuals with vision-related

disabilities. As a result, the complained of access barriers are permanent and likely to persist.

        29.    The law requires that Defendant reasonably accommodate the Plaintiff's disabilities

by removing these existing access barriers. Removal of the barriers identified above is readily

achievable, and Defendant may carry out their removal without much difficulty or expense.

        30.    Plaintiff has been, and in the absence of an injunction, will continue to be, injured

by Defendant's failure to provide its online content and services in a manner that is compatible

with screen-reader technology.

  DEFENDANT’S KNOWLEDGE OF WEBSITE ACCESSIBILITY REQUIREMENTS
        31.    Defendant has long known that sufficient contrast and skip navigation links are

necessary for individuals with visual disabilities to access its online content and services, and that

it is legally responsible for providing the same in a manner that is compatible with these auxiliary

aids.

        32.    Indeed, the “Department [of Justice] first articulated its interpretation that the ADA

applies to public accommodations’ Websites over 20 years ago.” As described above, on

September 25, 2018, Assistant Attorney General Stephen E. Boyd confirmed nothing about the

ADA, nor the Department's enforcement of it has changed this interpretation.




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         THE PARTIES HAVE NO ADMINISTRATIVE REMEDIES TO PURSUE

        33.     There is no DOJ administrative proceeding that could provide Plaintiff with Title

III injunctive relief.

        34.     While the DOJ has the rulemaking authority and can bring enforcement actions in

court, Congress has not authorized it to provide an adjudicative administrative process to provide

Plaintiff with relief.

        35.     Plaintiff alleges violations of existing and longstanding statutory and regulatory

requirements to provide auxiliary aids or services necessary to ensure effective communication,

and courts routinely decide these types of effective communication matters.

        36.     The resolution of Plaintiff's claims does not require the Court to unravel intricate,

technical facts. Instead, it involves consideration of facts within the courts' conventional

competence, e.g. (a) whether Defendant offers content and services on its Website, and (b) whether

Plaintiff can access the content and services.

                                 SUBSTANTIVE VIOLATIONS

                                             COUNT I

                         Title III of the ADA, 42 U.S.C. § 12181 et seq.

         37.    The Plaintiff incorporates the assertions contained in the previous paragraphs by

reference.

         38.    Defendant’s Website is a place of public accommodation within the definition of

Title III of the ADA, 42 U.S.C. § 12181(7).

         39.    In the broadest terms, the ADA prohibits discrimination on the basis of a disability

in the full and equal enjoyment of goods and services of any place of public accommodation. 42

U.S.C. § 12182(a). Thus, to the extent Defendant does not provide Plaintiff with full and equal

access to its Website, they have violated the ADA.

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        40.    In more specific terms, Title III of the ADA imposes statutory and regulatory

requirements to ensure persons with disabilities are not excluded, denied services, segregated or

otherwise treated differently than other individuals as a result of the absence of auxiliary aids and

services. 42 U.S.C. § 12182(b)(2)(A); 28 C.F.R. §§ 36.303(a), (c). Under these provisions, public

accommodations must furnish appropriate auxiliary aids and services that comply with their

effective communication obligations. Id.

        41.    Auxiliary aids and services are necessary when their absence effectively excludes

an individual from participating in or benefiting from a service or fails to provide a similar

experience to the disabled person.

        42.    Auxiliary aids and services include, but are not limited to, audio recordings, screen

reader software, magnification software, optical readers, secondary auditory programs, large print

materials, accessible electronic and information technology, other effective methods of making

visually delivered materials available to individuals who are blind or have low vision, and other

similar services and actions. 28 C.F.R. §§ 36.303(b)(2), (4).

        43.    To be effective, auxiliary aids and services must be provided to persons with

disabilities in accessible formats, promptly, and in such a way as to protect the privacy and

independence of the individual with a disability. 28 C.F.R. §§ 36.303(c)(1)(ii). To this end, the

Ninth Circuit, among other Courts, has explained, “assistive technology is not frozen in time: as

technology advances, [ ] accommodations should advance as well.” Enyart v. Nat'l Conference of

Bar Examiners, Inc., 630 F.3d 1153, 1163 (9th Cir. 2011); Andrews v. Blick Art Materials, LLC,

268 F. Supp. 3d 381, 395 (E.D.N.Y. 2017).

        44.    By failing to provide its Website’s content and services in a manner that is

compatible with auxiliary aids, Defendant has engaged, directly, or through contractual, licensing,



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or other arrangements, in illegal disability discrimination, as defined by Title III, including without

limitation:

                (a)     denying individuals with visual disabilities opportunities to participate in

and benefit from the goods, content, and services available on its Website;

                (b)     affording individuals with visual disabilities access to its Website that is not

equal to, or effective as, that afforded others;

                (c)     utilizing methods of administration that (i) have the effect of discriminating

on the basis of disability; or (ii) perpetuate the discrimination of others who are subject to common

administrative control;

                (d)     denying individuals with visual disabilities effective communication,

thereby excluding or otherwise treating them differently than others; and/or

                (e)     failing to make reasonable modifications in policies, practices, or

procedures where necessary to afford its services, privileges, advantages, or accommodations to

individuals with visual disabilities.

        45.     Defendant has violated Title III by, without limitation, failing to make its Website’s

services accessible by screen reader programs, thereby denying individuals with visual disabilities

the benefits of the Website, providing them with benefits that are not equal to those it provides

others and denying them effective communication.

        46.     Defendant has further violated Title III by, without limitation, utilizing

administrative methods, practices, and policies that allow its Website to be made available without

consideration of consumers who can only access the company’s online goods, content, and services

with screen reader programs.




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       47.     Making its online goods, content, and services compatible with screen reader

programs does not change Defendant’s Website or result in making the Website different but rather

enables individuals with visual disabilities to access the Website Defendant already provides.

       48.     Defendant’s ongoing violations of Title III have caused, and in the absence of an

injunction, will continue to cause harm to Plaintiff and other individuals with visual disabilities.

       49.     Plaintiff’s claims are warranted by existing law or a non-frivolous argument for

extending, modifying, or reversing existing law or establishing new law.

       50.     Pursuant to 42 U.S.C. § 12188, and the remedies, procedures, and rights set forth

and incorporated therein, Plaintiff requests relief as set forth below.

                                        PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for:

       (A)     A Declaratory Judgment that at the commencement of this action Defendant was in

violation of the specific requirements of Title III of the ADA described above, and the relevant

implementing regulations of the ADA, in that Defendant took no action that was reasonably

calculated to ensure that its Website was fully accessible to, and independently usable by,

individuals with visual disabilities;

       (B)     A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §

36.504(a) which directs Defendant to take all steps necessary to bring its Website into full

compliance with the requirements set forth in the ADA, and its implementing regulations, so that

its Website is fully accessible to and independently usable by, blind individuals, and which further

directs that the Court shall retain jurisdiction for a period to be determined to ensure that Defendant

has adopted and is following an institutional policy that will cause them to remain entirely in




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compliance with the law—the specific injunctive relief requested by Plaintiff is described more

fully in paragraph 13 above.

       (C)     Payment of actual, statutory, and punitive damages, as the Court deems proper;

       (D)     Payment of costs of suit;

       (E)     Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR

§ 36.505, including costs of monitoring Defendant’s compliance with the judgment (see

Gniewkowski v. Lettuce Entertain You Enterprises, Inc., Case No. 2:16-cv-01898-AJS (W.D. Pa.

January 11, 2018) (ECF 191) (“Plaintiffs, as the prevailing party, may file a fee petition before the

Court surrenders jurisdiction. Pursuant to Pennsylvania v. Delaware Valley Citizens’ Council for

Clean Air, 478 U.S. 546, 559 (1986), supplemented, 483 U.S. 711 (1987), the fee petition may

include costs to monitor Defendant’s compliance with the permanent injunction.”); see also Access

Now, Inc. v. Lax World, LLC, No. 1:17-cv-10976-DJC (D. Mass. April 17, 2018) (ECF 11) (same);

       (F)     The provision of whatever other relief the Court deems just, equitable and

appropriate; and

       (G)     An Order retaining jurisdiction over this case until Defendant has complied with

the Court’s Orders.

       Dated: September 1, 2020                   Respectfully Submitted,

                                                   /s/ Benjamin Sweet
                                                   Benjamin J. Sweet
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                                                   Signatures continued below




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